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               IN TH E UNITE D STATE SD ISTRIC T C OURT FOR TH E
                     E ASTE RN D ISTRIC T OF PE NNSYLVANIA


                                                     :
D E C US,INC .a nd D E C US C ONSTRUC TION,          :
INC .                                                :
                                                     :
                    Plaintiff,                       :
                                                     : C IVILAC TION
       v.                                            :
                                                     :
                                                     : NO. 16-5849
M ARK H E E NAN a nd H E E NAN                       :
H OLD ING S,LLC .                                    :
                                                     :
                                                     :
                     Defendants.



                        NOTIC E OF E NTRY OF APPE ARANC E

TO TH E C LE RK OF C OURTS:

      Kindly enter the appearance of Edward Seglias, Esquire, as counsel on behalf of

Defendants, Mark Heenan and Heenan Holdings, LLC in the above-captioned matter.

                                                  C OH E N,SE G LIAS,PALLAS,
                                                  G RE E NH ALL& F URM AN,P.C

                                                  By: _____/s/ Edward Seglias__________
                                                       Edward Seglias, Esquire (#55103)
                                                       COHEN SEGLIAS PALLAS
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                                                       eseglias@cohenseglias.com
                                                       Attorneys for Mark Heenan and
                                                       Heenan Holdings, LLC
         Case 2:16-cv-05849-MAK Document 83 Filed 02/22/18 Page 2 of 2



                               C E RTIFIC ATE OF SE RVIC E

       I, Edward Seglias, Esquire, hereby certify that on the below date, I caused to be served a

true and correct copy of the foregoing Entry of Appearance upon the following parties via the

ECF:

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Date: February 22, 2018                           /s/Edward Seglias
                                                  E D W ARD SE G LIAS
